     Case 1:20-cv-03010-APM        Document 1105-2        Filed 12/20/24    Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                  Plaintiff,

          v.                                        Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                  Defendant.


                              ORDER GRANTING
               MOTION FOR ADMISSION OF SARAH M. RAY PRO HAC VICE

       The Court has reviewed Apple Inc.’s motion for admission pro hac vice.           Upon

consideration of that motion, the Court grants attorney Sarah M. Ray pro hac vice admission to

this Court.

       IT IS SO ORDERED.



 Dated:
                                                            Amit P. Mehta
                                                      United States District Judge
